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 8                                      UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO

10    JESSICA DROBISH, on behalf of                  Case No.: 2:16-cv-01460-WBS-CKD
      herself and all similarly situated
11    individuals,                                   Complaint Filed: June 27, 2016
12                              Plaintiff,           ORDER TO CONTINUE INITIAL STATUS
                                                     CONFERENCE AND RELATED DATES
13            v.
14    CITY OF CITRUS HEIGHTS,
15                              Defendant.
16       PURSUANT TO STIPULATION BY THE PARTIES TO THIS CASE, IT IS
     HEREBY ORDERED THAT:
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18            1.       The initial status conference is continued from October 24, 2016, to December 19,
19   2016 at 1:30 p.m. in Courtroom 5.
20            2.       The Joint Status Report is due December 12, 2016.
21            3.       The parties must meet and confer on a discovery plan as required by FRCP 26(f)
22   on or before December 6, 2016.
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     Dated: September 29, 2016
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            [PROPOSED] ORDER TO CONTINUE INITIAL STATUS CONFERENCE AND RELATED DATES
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